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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

CATHERINE LYNNE MCEACHERN,

                     Plaintiff,
v.                                                            Case No. 23-877

JOHN NELSON MCEACHERN and
UNITED STATES OF AMERICA, ACTING
ON BEHALF OF THE DEPARTMENT OF
TREASURY, INTERNAL REVENUE SERVICE,

             Defendant,
________________________________/

                              NOTICE OF REMOVAL

         The United States of America, on behalf of the Internal Revenue Service,

respectfully removes this action to the United States District Court for the Middle

District of Florida, Fort Meyers Division. The grounds for removal are as follows:

         1.    On August 3, 2023, Plaintiff Catherine Lynne McEachern filed a

Complaint to Quiet Title in state court against John Nelson McEachern, and the

United States of America, acting on behalf of the Department of the Treasury,

Internal Revenue Service. See McEachern v. McEachern, et al., Case No. 2023-

CA-009144 (Fla. Cir. Ct. August 3, 2023). A copy of the motion and summons are

attached as Exhibit 1.

         2.    In Plaintiff’s action against the United States, Plaintiff claims that her

title in the real property located at 12671 Water Oak, Estero, FL 33928 (the “Estero

Property”) is superior to the IRS’s federal tax lien. She asks the Court to (1) quiet


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title of the property in her name as the sole owner in fee simple, and (2) bar the

IRS from claiming any right, title, or other interest in the Estero property.

      3.     On September 11, 2018, June 17, 2019, February 11, 2020, July 21,

2021, and April 18, 2023, the IRS filed notices of federal tax lien against the

Plaintiff and John Nelson McEachern in the public records of Lee County, Florida

for unpaid federal income taxes for 2006, 2007, and 2011-2018. Copies of the

notices of federal tax lien are attached hereto as Exhibit 2.

      4.     On August 15, 2023, the United States’ Attorney’s Office for the

Middle District of Florida was served a copy of Plaintiff’s complaint and related

summons. Exhibit 3.

      5.     Both the Summons in this proceeding and 28 U.S.C. § 2410 require

that, to seek quiet title against the United States in State court, Plaintiff must (1)

deliver a copy of the summons and the complaint to United States Attorney for the

district where the action is brought (here, the Middle District of Florida) and (2)

send a copy of both summons and complaint by certified mail, return receipt

requested, to the Attorney General of the United States. Exhibit 1 at 1.

      6.     Plaintiff has not perfected service on the United States, as she has not

sent the required copies by certified mail to the Attorney General. See Exhibit 3

(Return of Service as to service on United States).

      7.     On October 5, 2023, the Middle District of Florida USAO transmitted

Plaintiff’s complaint to the United States Department of Justice, Tax Division to

defend the interests of the United States.

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      8.     Plaintiff’s state court action challenges the United States’ Federal Tax

Lien and is properly removed to this Court pursuant to 28 U.S.C. § 1442(a)(1).

      9.     Federal subject-matter jurisdiction exists pursuant to 28 U.S.C.

§§ 1331 and 1340.

      10.    This Notice of Removal is filed within the time prescribed by 28 U.S.C.

§ 1446(b) because service on the United States has not been perfected. See Hunt v.

Nationstar Mortg. LLC, 782 F. App’x, 762, 769 (11th Cir. 2019) (citing Murphy

Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 347-48 (1999)) (explaining

that the time to remove does not start to run until service is perfected).

      11.    Pursuant to 28 U.S.C. § 1446(d), written notice of this removal is being

provided to all adverse parties, and a copy of this notice is being filed with the

Circuit Court of the Twentieth Judicial Circuit in and for Lee County, Florida.

      12.    Pursuant to 28 U.S.C. § 1446(a), attached to this Notice as Exhibit 1

are true and correct copies of Plaintiff’s Complaint and related Summons filed on

August 3 and 1, 2023 respectively, and as Exhibit 2 the IRS’s Notices of Federal Tax

Lien, recorded on September 11, 2018, June 17, 2019, February 11, 2020, July 21,

2021, and April 18, 2023.

      13.    The United States reserves all defenses that relate to jurisdiction,

insufficiency of process and service of process, sovereign immunity, and any and

all defenses in law and fact it has or may have.




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WHEREFORE, pursuant to this Notice, the United States removes to the United

States District Court for the Middle District of Florida the matter entitled

McEachern v. McEachern, et al., Case No. 2023-CA-009144 (Fla. Cir. Ct. August

3, 2023), in the Circuit Court of the Twentieth Judicial Circuit in and for Lee

County, Florida, for such further proceedings as may be appropriate.



Dated:        October 12, 2023             Respectfully Submitted,


                                           DAVID A. HUBBERT
                                           Deputy Assistant Attorney General

                                     By:
                                           /s/ Christopher Merino
                                           Christopher Merino
                                           Florida Bar Number 1011386
                                           Trial Attorney, Tax Division
                                           U.S. Department of Justice
                                           P.O. Box 14198
                                           Washington, D.C. 20044
                                           Telephone: 202-892-0242
                                           Facsimile: 202-514-4963
                                           Christopher.Merino@usdoj.gov

                                           /s/ Margaret E. Sheer
                                           Margaret E. Sheer
                                           Trial Attorney, Tax Division
                                           U.S. Department of Justice
                                           P.O. Box 14198
                                           Washington, D.C. 20044
                                           Telephone: 202-307-6627
                                           Facsimile: 202-514-4963
                                           Margaret.E.Sheer@usdoj.gov


Of Counsel:


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ROGER D. HANDBERG
United States Attorney

Lacy R. Harwell, Jr.
Chief, Civil Division
Assistant United States Attorney
Florida Bar No. 714623
U.S. Attorney’s Office
for the Middle District of Florida
400 North Tampa Street
Suite 3200
Tampa, FL 33602
Telephone:      813-274-6000
randy.harwell@usdoj.gov

Counsel for the United States of America




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                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the
foregoing was furnished via email and/or U.S. Mail, to all counsel of record or pro
se parties identified on the attached Service List:

      CHRISTOPHER W. WICKERSHAM JR., ESQ.
      Florida Bar Number: 91703
      LAW OFFICES OF C. W. WICKERSHAM JR., P.A
      The Whiteway Building, Suite 205
      2720 Park Street, Jacksonville, Florida 32205
      Telephone: (904) 389-6202
      Facsimile: (904) 389-6204
      Email: pleadings@chriswickersham.com
      Secondary Email: kent@chriswickersham.com
      Attorney for Plaintiff

      John Nelson McEachern
      1644 Black Maple Drive
      Rochester Hills, Michigan 48309




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